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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                        8:17CR304

       vs.
                                                                             ORDER
OMAR VAZQUEZ ALDERETE,

                        Defendant.


        This matter is before the Court on Defendant’s Motion for Detention Hearing (Filing No. 20).
In reviewing the motion, it appears that the a detention hearing was held on October 31, 2017, and
therefore the Court will construe filing number 20 as a Motion to Review Detention. Defendant’s
motion does not set forth a release plan for the Court’s consideration. Additionally, the Court finds
that the motion does not set out the respective positions of Probation and Pretrial Services and the
Government.      For all of these reasons, the motion will be denied without hearing.              Upon
consideration,


        IT IS ORDERED:
        1.       Defendant’s Motion for Detention Hearing (Filing No. 20) is denied without
prejudice to the refiling of a motion that sets out an appropriate release plan.
        2.       Future motions for reconsideration of detention shall be filed as restricted, and if the
release plan involves substance abuse treatment, shall have an attached substance abuse evaluation
and a letter of acceptance from the proposed treatment program accompanied by a statement of the
program’s requirements.
        3.       Additionally, all motions for reconsideration of detention shall contain a statement as
to the respective positions of Probation and Pretrial Services and the Government.


        Dated this 20th day of December, 2017.

                                                         BY THE COURT:

                                                         s/ Michael D. Nelson
                                                         United States Magistrate Judge
